     Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 1 of 26




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------   )(


SHERYL WULTZ, individually, as personal
representative of the Estate of Daniel Wultz,
and as the natural guardian of plaintiff
Abraham Leonard Wultz; YEKUTIEL
WULTZ, individually, as personal
representative of the Estate of Daniel Wultz,
and as the natural guardian of plaintiff
Abraham Leonard Wultz; AMANDA
WUL TZ; and ABRAHAM LEONARD                                     OPINION & ORDER
WUL TZ, minor, by his next friends and
guardians Sheryl Wultz and Yekutiel Wultz,                       11 Civ. 1266 (SAS)

                        Plaintiffs,

               - against-

BANK OF CHINA LIMITED,

                       Defendant.

--------------------------------------------------------   )(


SHIRA A. SCHEINDLIN, U.S.D.J.:

I.     INTRODUCTION

              This suit arises out of the death of Daniel Wultz and the injuries of

Yekutiel Wultz, suffered in a 2006 suicide bombing in Tel Aviv, Israel. Four

members of the Wultz family brought suit against Bank of China ("BOC" or "the

Bank"), alleging acts of international terrorism and aiding and abetting

                                               1
      Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 2 of 26




international terrorism under the Antiterrorism Act (“ATA”),1 as well as three non-

federal claims: negligence, breach of statutory duty, and vicarious liability.2

Plaintiffs filed this action in the U.S. District Court for the District of Columbia on

August 8, 2008.3 The general facts and procedural history of the case were laid out

in previous opinions4 and familiarity with them is assumed.

             BOC now moves to dismiss plaintiffs’ non-federal claims. For the

reasons stated below, BOC’s motion is granted in part and denied in part.

II.      BACKGROUND

             Plaintiffs allege that between 2003 and the 2006 attack, BOC

facilitated dozens of wire transfers, totaling millions of U.S. dollars, for the

terrorist organization responsible for the attack that killed Daniel Wultz, the

Palestinian Islamic Jihad (“PIJ”).5 According to plaintiffs, most of the transactions

         1
             See 18 U.S.C. § 2333.
         2
             See First Amended Complaint (“FAC”) ¶¶ 126–140, 141–152,
153–158.
         3
             See Wultz v. Islamic Republic of Iran, 755 F. Supp. 2d 1 (D.D.C.
2010).
        4
             See Wultz v. Bank of China Ltd., — F. Supp. 2d —, 2012 WL
1901194 (S.D.N.Y. May 25, 2012) (“Wultz III”); Wultz v. Bank of China Ltd., 860
F. Supp. 2d 225 (S.D.N.Y. 2012) (“Wultz II”); Wultz v. Bank of China Ltd., 811 F.
Supp. 2d 841 (S.D.N.Y. 2011) (“Wultz I”), overruled by Wultz III, 2012 WL
1901194.
        5
             See FAC ¶ 69.

                                            2
    Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 3 of 26




were initiated at a BOC branch in Guangzhou, China, from an account owned by a

PIJ leader named Said al-Shurafa.6 Other transfers were allegedly made by way of

BOC branches in the United States to another of Shurafa’s accounts.7

             Plaintiffs allege that BOC had actual or constructive knowledge that

the PIJ transfers were being made for the purpose of carrying out terrorist attacks.8

According to plaintiffs, Israeli security officers informed Chinese security and

bank officials in April 2005 of the role of the transfers in the PIJ’s terrorist

activities.9 Later that month, Chinese officials allegedly alerted the BOC

leadership that Israeli officials had requested BOC halt the transfers.10

             Plaintiffs’ First Amended Complaint, filed January 13, 2009, included

three non-federal claims against BOC, all under Israeli tort law: negligence,

breach of statutory duty, and vicarious liability.11 Plaintiffs argued that under

Israeli law, banks have a duty in some circumstances to shield non-customers from




      6
             See id.
      7
             See id.
      8
             See id. ¶¶ 77, 80.
      9
             See id. ¶¶ 74, 77.
      10
             See id. ¶ 77.
      11
             See id. ¶¶ 126–140, 141–152, 153–158.

                                            3
    Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 4 of 26




intentional torts committed by customers.12 On August 3, 2011, this Court denied

BOC’s motion to apply New York law, rather than Israeli law, to plaintiffs’ non-

federal claims.13 I held that although there were strong arguments favoring the

application of New York law, there were slightly stronger arguments favoring the

application of Israeli law.14

             Subsequently, in Licci v. Lebanese Canadian Bank, the Second

Circuit was presented with facts similar to the ones in this case and held that New

York common law, not Israeli law, should apply.15 The Second Circuit held that in

a context such as this case, the location of the tortious injury does not control;

instead, it is the location of the defendant’s conduct that controls.16 Because the

majority of BOC’s conduct in this case occurred in China, I withdrew my earlier

decision and ruled that the law of China should govern plaintiffs’ non-federal

claims.17



      12
             See Wultz I, 811 F. Supp. 2d at 849–50.
      13
             See id. at 841.
      14
             See id. at 851–52.
      15
           See Wultz III, 2012 WL 1901194, at *1 (citing Licci v. Lebanese
Canadian Bank, 672 F.3d 155 (2d Cir. 2012)).
      16
             See id. at *4.
      17
             See id.

                                           4
       Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 5 of 26




              The ruling also noted BOC’s assertion that plaintiffs’ negligence

claims could not survive under Chinese law.18 “If plaintiffs agree with the Bank,

then their fourth, fifth, and sixth claims will be dismissed. If plaintiffs disagree,

then further briefing on the substance of Chinese tort law will be necessary.”19

Plaintiffs disagreed. BOC now moves the court to dismiss plaintiffs’ non-federal

claims through a judgment on the pleadings pursuant to Federal Rule of Civil

Procedure 12(c). Both parties have provided the requested briefing.

III.     APPLICABLE LAW

         A.   Rule 12(c) Motion

              Federal Rule of Civil Procedure 12(c) states: “After the pleadings are

closed — but early enough not to delay trial — a party may move for judgment on

the pleadings.” “Judgment on the pleadings is appropriate if, from the pleadings,

the moving party is entitled to judgment as a matter of law.”20

              “The standard for addressing a Rule 12(c) motion for judgment on the

pleadings is the same as that for a Rule 12(b)(6) motion to dismiss for failure to




         18
              See id.
         19
              Id.
        20
            Burns Int’l Sec. Servs. v. International Union, United Plant Guard
Workers of Am., 47 F.3d 14, 16 (2d Cir. 1995).

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    Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 6 of 26




state a claim.”21 In both cases, “the court must accept[ ] as true the complaint’s

factual allegations and draw[ ] all inferences in the plaintiff’s favor. A complaint

should not be dismissed on the pleadings unless it appears beyond doubt that the

plaintiff can prove no set of facts in support of his claim which would entitle him

to relief.”22

       B.       Choice of Law

                “A federal court sitting in diversity or adjudicating state law claims

that are pendent to a federal claim must apply the choice of law rules of the forum

state.”23 In the instant case, as in Licci, “New York choice-of-law rules apply in

adjudicating the plaintiffs’ negligence claim[s].”24

                “Under New York choice-of-law rules, ‘[t]he first step in any case

presenting a potential choice of law issue is to determine whether there is an actual

conflict between the laws of the jurisdictions involved.’”25 In the instant case,


       21
            Cleveland v. Caplaw Enters., 448 F.3d 518, 521 (2d Cir. 2006) (citing
Karedes v. Ackerley Group, Inc., 423 F.3d 107, 113 (2d Cir. 2005)).
       22
                Id. (quotation marks and footnotes omitted).
       23
             Licci, 672 F.3d at 157 (citing Rogers v. Grimaldi, 875 F.2d 994, 1002
(2d Cir. 1989)).
       24
                Id.
       25
                Id. (quoting Wall v. CSX Transp., Inc., 471 F.3d 410, 415 (2d Cir.
2006)).

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    Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 7 of 26




“[w]ith respect to each of plaintiffs’ non-federal claims, there exists a substantive

conflict of laws.”26

             The Second Circuit held in Licci:

             The alleged conflict [of law] in this case concerns a
             conduct-regulating rule: the scope of a bank’s duty to protect third
             parties against intentional torts committed by the bank’s
             customers. If conflicting conduct-regulating laws are at issue, the
             law of the jurisdiction where the tort occurred will generally apply
             because that jurisdiction has the greatest interest in regulating
             behavior within its borders.27

             As I held in Wultz III, Chinese tort law governs plaintiffs’ non-federal

claims because the majority of BOC’s alleged conduct occurred in China, and

“China’s interest in regulating bank conduct within its borders . . . outweighs the

interest of New York, through which the wire transfers passed only briefly, and the

interest of Israel, where no conduct by the defendant took place.”28

      C.     Chinese Law

             “‘Foreign law, though formerly treated as an issue of fact, is now

recognized as an issue of law, to be established by any relevant source, including




      26
             Wultz I, 811 F. Supp. 2d at 849.
      27
             Licci, 672 F.3d at 158 (citation and quotation marks omitted).
      28
             Wultz III, 2012 WL 1901194, at *4.

                                           7
    Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 8 of 26




testimony.’”29 Federal Rule of Civil Procedure 44.1 establishes that “[t]he court’s

determination [of foreign law] must be treated as a ruling on a question of law.”

             The parties agree that the primary sources of Chinese tort law during

the relevant time period in the instant case were the General Principles of Civil

Law of the People’s Republic of China (1987) (“General Principles”) and related

interpretations issued by the Supreme People’s Court.30 “When they were passed

by the National People’s Congress in 1986, the General Principles were meant to

be an overall framework for more specific laws to be adopted subsequently.”31 The


      29
             Wultz II, 860 F. Supp. 2d at 230 (quoting United States v. Peterson,
812 F.2d 486, 490 (9th Cir. 1987)). Accord In re Vitamin C Antitrust Litig., 810 F.
Supp. 2d 522, 562 (E.D.N.Y. 2011) (“A determination of foreign law is, like
choice of law analysis, a preliminary matter to be resolved by the court. Therefore,
any disputed facts underlying that determination must also be resolved by the
court.”).
      30
              See Expert Report of Jacques deLisle (“deLisle Report”), Ex. 1 to
8/20/12 Declaration of Mitchell R. Berger, counsel for BOC (“Berger Decl.”),
¶ 13; Plaintiffs’ Memorandum in Opposition to Bank of China Limited’s Motion
for Partial Judgment on the Pleadings (“Opp. Mem.”) at 3. All quotations from
and citations to the General Principles are from the translations appearing in the
briefs and supporting declarations, or from the translation available on the
Supreme People’s Court of the People’s Republic of China website at:
http://en.chinacourt.org/public/detail.php?id=2696.
      31
              Andrew J. Green, Tort Reform with Chinese Characteristics: Towards
a “Harmonious Society” in the People’s Republic of China, 10 S AN D IEGO INT’L
L.J. 121, 126 (2008). Green notes that “without further clarification the provisions
provide only rough guidance to China’s courts on how to handle a personal injury
tort case.” Id. at 127. Because Chinese courts do not develop law through case
precedent, “[t]he absence of sufficiently detailed positive law . . . impede[d] the

                                          8
      Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 9 of 26




more comprehensive and specific Tort Law of the People’s Republic of China

(“PRC”) finally arrived in 2009 and became effective July 1, 2010.32

IV.     ANALYSIS

        A.   Plaintiffs’ Non-Federal Claims Under Chinese Law

             In support of the contention that plaintiffs’ non-federal claims would

fail under Chinese tort law, BOC offers reports from two experts: Jacques deLisle,

a distinguished professor of law and political science and the Director of the Center

for East Asian Studies at the University of Pennsylvania, who has written and

taught for over two decades on contemporary Chinese law, including Chinese tort

law;33 and Zhang Xinbao, a professor of law at Renmin University of China Law

School with expertise in the theoretical underpinnings of Chinese tort law.34 In

support of the viability of plaintiffs’ non-federal claims, plaintiffs offer a report

from George W. Conk, an adjunct professor of law at Fordham Law School and

U.S. tort law expert who has published translations of and at least one article on




uniform application” of tort law in China. Id.
       32
            See Vincent R. Johnson, The Rule of Law and Enforcement of Chinese
Tort Law, 34 T HOMAS JEFFERSON L. R EV. 43, 80–81 & n.225 (2011).
        33
             See deLisle Report at 1–3.
       34
           See Legal Opinion on the Case of Sheryl Wultz, etc. v. Bank of China
(“Zhang Report”), Ex. 2 to Berger Decl., at 1.

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   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 10 of 26




Chinese tort law.35

             The parties’ experts present strikingly different pictures of Chinese

tort law, based on sharply differing interpretive approaches. DeLisle offers a broad

overview of “[s]everal inter-related general features of China’s tort law,” all of

which “contrast broadly with the tort law of the United States,”36 including: the

comparatively narrow scope of tort liability in China;37 the general refusal of

Chinese courts to impose tort liability in the absence of a specific, express, clear

statement in positive law establishing such liability;38 and the general emphasis in

China on addressing tort-like behavior through public law — administrative and

criminal sanctions — rather than through civil law remedies requiring private

litigation.39 In sum, deLisle states that “a Chinese civil law court would conclude

      35
             See Declaration of Professor George W. Conk (“Conk Decl.”), Ex. 1
to 9/21/12 Declaration of Marilyn C. Kunstler, counsel for plaintiffs (“Kunstler
Decl.”), ¶¶ 11–21; Addendum 1 to Conk Decl., at 3.
      36
             deLisle Report ¶ 16.
      37
             See id.
      38
              See id. ¶¶ 17–20. “Positive law” could be a piece of legislation, a
regulation, or one of the Supreme People’s Court’s regulation-like
“Interpretations.” See id. ¶¶ 17, 19. Contrary to the suggestion at Conk Decl.
¶¶ 24, 31, a state with a “positivist” legal regime need not be a state whose powers
are limited by the rights of the individual. See Reply Report of Jacques deLisle
(“deLisle Reply Report”), Ex. 1 to 10/12/12 Reply Declaration of Mitchell R.
Berger, at 15.
      39
             See deLisle Report ¶ 21.

                                          10
   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 11 of 26




that a tort claim is not viable where its foundation in existing, positive law is

doubtful or ambiguous and where statutes, regulations and similar rules specific to

the industry or fact scenario do not expressly authorize it.”40 DeLisle bases his

conclusions regarding the failure of plaintiffs’ non-federal claims on a reading of

the General Principles and other Chinese legal sources in light of these general

features of Chinese tort law.41

             By contrast, plaintiffs’ expert Conk focuses more intently on the

“plain language” of various legal texts viewed in relative isolation.42 Conk’s

textualist approach makes few claims about how the General Principles were

actually applied during the relevant period by Chinese courts.

             It is worth noting that plaintiffs provide no evidence that a Chinese

court has ever imposed liability on a bank in circumstances similar to those of the

instant case. It would be inappropriate to require an opinion from a Chinese court,

given that Chinese courts do not routinely issue opinions,43 but it remains



      40
             Id. ¶ 23.
      41
             See id. ¶¶ 12, 16, 22.
      42
             See Conk Decl. ¶ 34.
      43
             See id. ¶ 26 (“There is no system of guidance by precedent, judges
deciding cases do not issue explanatory published opinions, and their judgments do
not bind co-ordinate or lower courts in other cases.”).

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   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 12 of 26




noteworthy that plaintiffs are unable to produce any evidence from any source —

including news sources, scholarly publications, or other expert testimony — that a

Chinese court has ever imposed the kind of tort liability that plaintiffs insist is

authorized by “the plain language” of the General Principles.44

             DeLisle’s report is the most persuasive of the three. The

interpretation of Chinese law should be informed by attention to the general

practices and features of China’s legal institutions, rather than by relying solely on

inferences drawn from indeterminate legal language.45 As Conk notes, the


      44
              Opp. Mem. at 5 (quoting Conk Decl. ¶ 34). See also deLisle Reply
Report at 28–30 (summarizing two cases involving bank liability to ostensible third
parties). In one case summarized by deLisle, the trial court found that a bank was
jointly and severally liable in tort to a plaintiff whom deLisle presents as a third
party. See id. at 28–29 (Xiangtan Organics case). But the Supreme People’s Court
rejected the lower court’s analysis, concluding that the bank was liable to the
plaintiff through contract law. See id. The Supreme People’s Court’s analysis thus
supports the conclusion that the plaintiff in that case was not a third party, not the
conclusion that the scope of bank liability to third parties is especially narrow
under Chinese tort law. In the other case summarized by deLisle, a bank was held
not liable to a third party who was defrauded using the bank’s services and based
on the bank’s negligence. See id. at 29. But the puzzling facts of the case,
including that the ostensible “third party” had opened the account at the bank and
deposited the funds there, see id., make it difficult to derive any general principle
relevant to the instant case.
      45
             Plaintiffs suggest that there is an inconsistency in BOC’s argument.
“[I]n defiance of logic . . ., according to BOC, Chinese law must be specified in
writing, except that ‘general features’ control when specific written provisions are
not convenient to BOC’s position.” Opp. Mem. at 4. If BOC were claiming that
China possesses a perfectly consistent and complete system of laws, including an
unwritten law that all laws must be specified in writing, plaintiffs’ objection might

                                           12
   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 13 of 26




contemporary history of Chinese law began only in 1978, when Deng Xiaoping

instituted a policy of legal reform in the wake of the lawlessness of the Cultural

Revolution.46 Since that time, the Chinese legal system has undergone exceptional

growth and development, but it continues to lack some characteristics of the rule of

law commonly assumed in the West. Black letter law in the PRC is often “general

and vague,” “poorly drafted,” “subject to frequent change,” “out-of-date,” and,

perhaps most significantly for the current case, “at odds with reality and current

practices.”47 Even China’s current constitution contains a number of apparently

legally binding statements that are in practice not enforced by the courts.48 The



pose a serious problem. But BOC’s position is more modest. BOC suggests that
Chinese courts, as a matter of practice, follow an unwritten rule of only imposing
tort liability based on specific, written rules establishing such liability through
positive law. See Memorandum of Bank of China Limited in Support of Motion
for Partial Judgment on the Pleadings Dismissing Plaintiffs’ Non-Federal Claims
(“Def. Mem.”) at 7–8. I find no inconsistency in this position.
      46
             See Conk Decl. ¶¶ 22–23. To the extent that BOC relies on a 1951
New York Court of Appeals case in support of the notion that China has a civil law
system today or had one in the last decade, BOC’s reliance is obviously
undermined by the intervening decades of Chinese history. See Def. Mem. at 8–9
(citing Industrial Export & Import Corp. v. Hongkong & Shanghai Banking Corp.,
302 N.Y. 342 (1951)).
      47
            R ANDALL P EERENBOOM, C HINA’S L ONG M ARCH T OWARD R ULE OF
L AW 12 (2002).
      48
              See Conk Decl. ¶ 23 (noting that Chinese courts do not review
legislation or agency action for conflict with the constitution); deLisle Reply
Report at 13–14 (“[T]he Chinese constitution’s individual rights provisions are not

                                          13
   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 14 of 26




role of the Chinese Communist Party in governing the country is not reflected in

the constitution.49 The discrepancy between language and legal reality in Chinese

law calls into question the attempt to deduce Chinese law simply from the

language of Chinese legal sources, without critical attention to the practices of

Chinese legal institutions.

             I now turn to the specific viability of each of plaintiffs’ non-federal

claims under Chinese law.

             1.     Negligence

             Plaintiffs ground their negligence claim in two articles of the General

Principles. First, article 106 states that “[c]itizens and legal persons who through

their fault encroach upon State or collective property or the property or person of

other people shall bear civil liability.”50 Plaintiffs suggest that BOC’s conscious

provision of banking services to the PIJ, despite the alleged warnings, qualifies as


a formally operative part of Chinese law.”). But see P EERENBOOM, C HINA’S L ONG
M ARCH, at 7 (“[A] number of administrative laws have been passed establishing
legal mechanisms for challenging government officials and holding them
accountable.”). In light of China’s commitment to legislative supremacy, and the
dominance of legislative organs by the Chinese Communist Party, scholars have
long debated whether China’s legal system is better understood as a rule of law
regime, or rather, in the socialist tradition, as a regime in which the Party rules by
law. See, e.g., id. at 8, 10.
      49
             See P EERENBOOM, C HINA’S L ONG M ARCH, at 8.
      50
             Opp. Mem. at 5 (quoting General Principles art. 106).

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   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 15 of 26




“fault” under article 106, because BOC’s behavior violated several Chinese laws.51

Second, plaintiffs argue that article 119 “creates a private right of action against

‘[a]nyone who infringes upon a citizen’s person and causes him physical injury.’”52

               DeLisle persuasively argues that neither of these articles provide a

source of tort liability for BOC in this case. “[W]hen Chinese lawmakers have

intended to create a duty that grounds tort liability of defendants toward plaintiffs

for harms immediately committed by a third party, they have done so through

specific provisions.”53 Neither of the articles cited by plaintiffs are sufficiently

specific to carry the burden of establishing tort liability.54 In addition, deLisle

notes that article 119 “does not create a basis for a claim or grounds for liability.” 55

Rather, article 119 provides “the elements, and some guidance on the measure, of

damages that a defendant must pay” once liability has been established in a tort

case.56 Even if I were to discount deLisle’s general statements about tort liability,



      51
               See id. at 6.
      52
               Id. (quoting General Principles art. 119).
      53
               deLisle Report ¶ 35.
      54
               Cf. id. ¶¶ 36–37 (providing examples of sufficiently specific
provisions).
      55
               deLisle Reply Report at 1.
      56
               Id.

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   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 16 of 26




the plain language of article 119 and the surrounding articles supports deLisle’s

interpretation rather than that of plaintiffs.57

              2.     Breach of Statutory Duty

              Plaintiffs argue that article 49 of the General Principles governs civil

liability for commercial entities such as BOC and lists six categories of conduct for

which such entities “‘shall bear’ civil liability,” including “engaging in other

activities prohibited by law, damaging the interests of the State or the public

interest.”58 Plaintiffs suggest that “there is no question that a Chinese court would

consider knowingly executing millions of dollars in bank transfers for terrorists”

damaging to the interests of the PRC and the public interest.59

              DeLisle persuasively argues that the language of article 49 does not

establish tort liability.60 In fact, even in terms of plain language, there is no basis


         57
              See generally General Principles § 3. The full text of article 119
reads:
              Anyone who infringes upon a citizen’s person and causes him
              physical injury shall pay his medical expenses and his loss in
              income due to missed working time and shall pay him living
              subsidies if he is disabled; if the victim dies, the infringer shall
              also pay the funeral expenses, the necessary living expenses of
              the deceased’s dependents and other such expenses.
         58
              Opp. Mem. at 8 (quoting General Principles art. 49).
         59
              Id. at 9.
         60
              See deLisle Reply Report at 4; deLisle Report ¶ 57.

                                            16
   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 17 of 26




for concluding that article 49 establishes civil liability at all. Contrary to plaintiffs’

paraphrase, the text of article 49 does not include the term “civil,” while the texts

of other articles establishing civil liability do.61

              3.     Vicarious Liability

              Plaintiffs argue that their vicarious liability claim is authorized by

article 130 of the General Principles, which states: “If two or more persons jointly

infringe upon another person’s rights and cause him damage, they shall bear joint

liability.”62 Plaintiffs cite to a 1988 Supreme People’s Court opinion that they

suggest interprets article 130 as creating vicarious liability for aiding another’s

tortious conduct.63 Plaintiffs quote the opinion as stating: “[a] person who


       61
               Compare General Principles art. 49 (“Under any of the following
circumstances, an enterprise as legal person shall bear liability, its legal
representative may additionally be given administrative sanctions and fined and, if
the offence constitutes a crime, criminal responsibility shall be investigated in
accordance with the law . . . .”), with, e.g., General Principles art. 106 (“Citizens
and legal persons who breach a contract or fail to fulfil other obligations shall bear
civil liability” (emphasis added)). Accord deLisle Reply Report at 4–7 (clarifying
that article 49 is “about non-civil responsibility or liability”).
       62
              Opp. Mem. at 9 (quoting General Principles art. 130).
       63
             See id. at 9–10 (quoting Opinion (for Trial Use) of the Supreme
People’s Court on Questions Concerning the Implementation of the General
Principles of Civil Law of the People’s Republic of China (Jan. 26, 1988), trans.
Whitmore Gray & Henry Ruiheng Zhen, 52 L AW & C ONTEMPORARY P ROBLEMS
59, 81 (1989) ¶ 148 (“Opinions ¶ 148”), Ex. G to Conk Decl.). DeLisle also cites
Opinions ¶ 148 as the source for the “instigating and aiding” form of joint liability
under Chinese tort law. See deLisle Reply Report at 35 n.111.

                                             17
   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 18 of 26




instigates or helps [bangzhu] another person to commit a tort is a joint tortfeasor

and must bear joint civil liability.”64 Plaintiffs also cite the Interpretation of the

Supreme People’s Court of Some Issues concerning the Application of Law for the

Trial of Cases on Compensation for Personal Injury (2003) (“Personal Injury

Interpretation”), which both parties agree is an authoritative source, and which

states on its face that joint liability attaches to conduct that combines to produce

the same injury “even if there is no joint intent or joint negligence.”65

              DeLisle suggests that there are three possible forms of joint tort

liability under Chinese law.66 One of these forms “provide[s] for the possibility of



      64
              Opp. Mem. at 10 (quoting Opinions ¶ 148). DeLisle offers alternate
translations for the paired terms: “[i]nstigating” or “abetting” and “helping” or
“aiding.” deLisle Report ¶ 61.
      65
              Opp. Mem. at 10–11 (quoting Personal Injury Interpretation art. 3).
The full text of the first paragraph of article 3 states:
              Where two or more persons cause an injury to others by joint
              intent or joint negligence, or their injurious acts are directly
              combined and result in the same injury consequence even if
              there is no joint intent or joint negligence, a joint tort shall be
              constituted, and the tortfeasors shall bear joint liabilities in
              accordance with Article 130 of the General Principles of Civil
              Law.
See also deLisle Reply Report at 35 n.111 (citing Personal Injury Interpretation art.
3). DeLisle notes there may be a “dissenting minority view” in Chinese legal
scholarship according to which “knowledge or less” might be adequate for
establishing joint liability. See id. at 37.
      66
              See deLisle Reply Report at 35–39.

                                            18
   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 19 of 26




liability in some circumstances for one who aids or abets another in the

commission of a tort.”67 But deLisle asserts that under his “understanding of the

general or mainstream view in Chinese law,” a defendant does not incur the

“aiding and abetting” form of joint tort liability unless the defendant has “a level of

intention to advance the principal tortfeasor’s tortious ends that exceeds mere

knowledge,” and a sufficient connection or contribution exists between the

defendant’s act and the tortious act.68

             Plaintiffs’ First Amended Complaint does not allege any facts in

support of the conclusion that BOC intended the PIJ to stage its attack.69 But intent

exists along a spectrum. In U.S. tort law, it is common to speak of a variety of

states of mind relevant to intention, such as negligence, gross negligence,

recklessness, intent, and even malice or evil motive.70 DeLisle’s reference to a

requisite “level of intention” supports the conclusion that Chinese tort law


      67
             deLisle Report ¶ 60.
      68
               Id. ¶ 62. Cf. Zhang Report at 14 (noting that assistance leading to
civil liability “must be intentional” and that “negligence does not constitute
‘assistance’”); Conk Decl. ¶ 50 (stating that “[i]n the context of Chinese tort law, a
fair reading of ‘help’ [bangzhu] is that it requires . . . some knowledge or
awareness by the actor of possible harmful consequences. That is, to support tort
liability, the help must be wrongful.”).
      69
             See FAC ¶¶ 77–81; Opp. Mem. at 9–12.
      70
             See, e.g., Smith v. Wade, 461 U.S. 30, 39, 46–47 (1983).

                                          19
   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 20 of 26




recognizes a variety of intentional states as well.71

             Plaintiffs have pled that “BOC’s conduct was criminal in nature,

dangerous to human life, outrageous, intentional, reckless and malicious.”72 Under

the standard governing BOC’s motion for judgment on the pleadings, I must accept

as true plaintiffs’ factual allegations regarding the warnings BOC received and

BOC’s conduct in the wake of those warnings.73 Based on these allegations, it is

not “beyond doubt” that plaintiffs can prove “no set of facts” in support of their

vicarious liability claim under Chinese law.74 As a result, I will not dismiss

plaintiffs’ vicarious liability claim on the pleadings.

             As the case proceeds, both parties will have the opportunity to provide

further clarification regarding what level or type of intention is required to

establish joint liability under the relevant rules of Chinese tort law, and whether

BOC’s conduct conformed to that level or type.

             Finally, BOC argues in a lengthy footnote, apparently for the first

time, that plaintiffs’ vicarious liability claim is likely untimely under New York’s



      71
             See deLisle Report ¶ 62 (emphasis added).
      72
             FAC ¶ 158.
      73
             See FAC ¶¶ 63–81, 158. See also Cleveland, 448 F.3d at 521.
      74
             Cleveland, 448 F.3d at 521.

                                           20
    Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 21 of 26




“borrowing statute.”75 I hereby grant plaintiffs’ request for the opportunity to brief

this issue.76

       B.       Remaining Issues

                First, plaintiffs argue that even if BOC would not be liable under

Chinese tort law, it would be contrary to New York public policy to dismiss

plaintiffs’ non-federal claims. I noted in Wultz I that “‘[i]f the choice of law

analysis leads to the application of foreign law, a court may refuse to apply that

law only if its application would be violative of fundamental notions of justice or

prevailing concepts of good morals.’”77 Plaintiffs have not established that any

fundamental notion of justice or prevailing concept of good morals would be

violated by dismissing two of plaintiffs’ non-federal claims through the application

of Chinese tort law to the instant case under New York’s choice of law rules. To

the contrary, the case law remains unclear even on the question of whether BOC

would be liable under New York tort law.78 If the law remains unsettled on


       75
                See Def. Mem. at 25 n.12; Reply Mem. at 10 n.15.
       76
             See Opp. Mem. at 22 n.25. The parties are directed to agree on and
notify the Court of a prompt briefing schedule.
       77
             Wultz I, 811 F. Supp. 2d at 847 (quoting Curley v. AMR Corp., 153
F.3d 5, 12 (2d Cir. 1998)).
       78
             Compare Opp. Mem. at 17–18, with Def. Mem. at 21–22. Plaintiffs’
strongest support comes from a recent New York Supreme Court decision finding,

                                            21
   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 22 of 26




on facts very similar to those alleged in the instant case, that the “specific
allegations regarding BOC’s actual knowledge . . . [take this case] outside the usual
rule that ‘[b]anks do not owe non-customers a duty to protect them from the
intentional torts committed by their customers.’” Elmaliach v. Bank of China, Ltd.,
Index No. 102026/09, at 11 (Sup. Ct. N.Y. Co. July 7, 2011).
                Plaintiffs raise a troubling concern about the fullness of deLisle’s
candor before the Southern District at an earlier stage of Elmaliach, when deLisle
appeared as an expert in support of BOC’s forum non conveniens-based motion to
dismiss. See Opp. Mem. at 12–13; Conk Decl. at 9 n.8. In his Elmaliach report,
deLisle stated that “plaintiffs’ Chinese law experts . . . base their conclusions that
China cannot and will not provide an adequate forum for plaintiffs[’] claims on a
series of . . . incomplete depictions of Chinese courts, the Chinese legal system and
other related matters.” 7/24/09 Declaration of Professor Jacques deLisle in
Elmaliach v. Bank of China Ltd., No. 09 Civ. 2130 (S.D.N.Y.) (“deLisle Elmaliach
Report”), Ex. 2 to Kunstler Decl., ¶ 12. Specifically, deLisle noted that “[a]
Chinese court might apply the tort law of the PRC, Israel or the U.S. to this case.
Under Chinese law, the plaintiffs would be entitled to damages much higher than
those claimed by plaintiffs’ experts . . . .” Id. ¶ 13.
                In a footnote in deLisle’s expert report in the instant case, deLisle
explains that his reports on behalf of BOC in Elmaliach and Wultz are not
inconsistent, because in the earlier case “I was not asked to analyze, and I did not
opine on, whether the particular actions alleged by the plaintiffs in that case would,
if true, state a claim cognizable under Chinese tort law.” deLisle Report ¶ 12 n.1.
In sum:

             (i)    One element of the forum non conveniens analysis is
                    whether there exists “an alternative forum in which
                    plaintiff may bring suit.” See Elmaliach, Index No.
                    102026/09, at 12 (quoting Islamic Repub. of Iran v.
                    Pahlavi, 62 N.Y.2d 474, 479 (1984)).
             (ii)   DeLisle offered his expert opinion in support of a forum
                    non conveniens-based motion to dismiss Elmaliach and
                    transfer it to a Chinese court, in part based on the stated
                    conclusion that under Chinese law plaintiffs would be
                    entitled to damages. This conclusion contained no
                    conditional “if” clause regarding the viability of
                    plaintiffs’ claims, though deLisle now states that one was

                                          22
   Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 23 of 26




whether the claim against BOC could survive dismissal under New York tort law,

it is unlikely that dismissal of the claim under foreign tort law would so offend

New York public policy that the claim would have to be allowed to proceed in

disregard of New York’s usual choice of law rules.

              Second, plaintiffs invite this Court to abstain from performing the

choice of law analysis in this opinion until the appeal in Elmaliach is resolved, or

until discovery is complete in the instant case.79 I decline on both counts. As the

District Court for the District of Columbia noted in its decision transferring

plaintiffs’ claims against BOC to the Southern District, this litigation has been

ongoing for several years, and this Court will not “further exacerbate the

already-extensive delays.”80




                      implied. See deLisle Reply Report at 40.
              (iii)   DeLisle now offers his expert opinion in support of a
                      motion to dismiss the non-federal claims in Wultz, in part
                      based on the conclusion that under Chinese law plaintiffs
                      would be unable to bring suit.

              In light of deLisle’s reports in the instant case, it is difficult to avoid
the conclusion that deLisle’s report in Elmaliach was misleading, whether
intentionally or unintentionally. Nevertheless, I continue to find deLisle’s reports
in the instant case largely persuasive.
         79
              See Opp. Mem. at 23–25.
       80
              Wultz v. Islamic Repub. of Iran, 762 F. Supp. 2d 18, 33 (D.D.C.
2011).

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     Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 24 of 26




District Court for the District of Columbia noted in its decision transferring

plaintiffs' claims against BOC to the Southern District, this litigation has been

ongoing for several years, and this Court will not ''further exacerbate the

already-extensive delays."so

              Third, in light of this opinion's application of Chinese tort law to

plaintiffs' non-federal claims, the parties' arguments concerning the application of

New York tort law in the instant case are moot. S1

v.     CONCLUSION

              For the foregoing reasons, BOC's motion for judgrrent on the

pleadings dismissing plaintiffs' non-federal claims is granted in part and denied in

part. The Clerk of the Court is directed to close this motion [Docket No. 159].




                                                Shira A. Scheindlin
                                                U.S.DJ.

Dated:        November 5, 2012
              New York, New York




         so   Wultz v. Islamic Repub. ofIran, 762 F. Supp. 2d 18, 33 (D.D.C
2011).
         81
              See Def. Mem. at 19-25; Opp. Mem. at 17-23.

                                           24
  Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 25 of 26




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                                      25
Case 1:11-cv-01266-SAS-GWG Document 192 Filed 11/05/12 Page 26 of 26




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                                26
